Case 2:18-cv-00924-PD Document 151 Filed 09/15/23 Page 1 of 9

Check of Couch

Linited States Disteet Couct

60! ea i:

Phila Vol

‘ea V Focleu et a

Bek No. % \9- ayy

teas A Moss Concecn ’

ois Be Pro Se: Pla! at ce No longer (e prescated

bog Ohaghraga O Ay ono. Esq. foc paeposes of this.

Appes, San aloout +1, als doy of Mucus t. AO2S,

led Notice of Appe| to D Dito: ct Bu ct iA

4 a (ee: No. 43),

- Would |; Ke to | a C2 Ws th Click fegacd AQ

ack iG lin. of Celok ol <0) ible

oC docu. T Cequsst te pedceed Pro Seon

oppral in dads ee and Creed lalla. Courst

LL payne Cotespondenceds lox Oy eutel aolad

to_me Sd Vu address oe (zcCord.

Oluto Cuma oe AWUQ O

#1199533 /957866- &

Bows: ae Oy sles Beleain

Ps. Gox F- |
Leesloace NI 092X7 Recpect alla Srabnna ted,
SS OlittoKuabse Ciunowan

Ol fennenetS

9- 12-23!

Case 2:18-cv-00924-PD Document 151 Filed 09/15/23 Page 2 of 9

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

OLUTOKUNBO EFUNNUGA
Plaintiff,
: CIVIL ACTION No.: 2:18-cv-0924

Vs.

STEVEN FARLEY et. al.
Defendants.

Rule 60
PLAINTIFF OLUTOKUNBO EFUNNUGA’S MOTION FOR SUMMARY-FUDGMENE

Plaintiff Olutokunbo Efunnuga, hereby files this Motion for Relief from a Judgment or
Order pursuant to, Pursuant to Fed. R. Civ. P. 60, on claim of Illegal Search and Seizure with

respect to incident which occurred on May 5, 2016.

Plaintiff incorporate by reference the attached Memorandum of Law as though fully set

forth at length.

Respectfully Submitted,

Olutokuitbo Efunnuga V

Date: q -\-23

Case 2:18-cv-00924-PD Document 151 Filed 09/15/23 Page 3 of 9

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

OLUTOKUNBO EFUNNUGA
Plaintiff,
: CIVIL ACTION No.: 2:18-cv-0924

Vs.

STEVEN FARLEY et. al.
Defendants.

ORDER

AND NOW, this day of , 202__, upon

consideration of Plaintiff Olutokunbo Efunnuga’s Motion for Relief from a
Judgment or Order pursuant to, Pursuant to Fed. R. Civ. P. 60, it is hereby

ORDERED that Plaintiffs’ Motion is GRANTED.

BY THE COURT:

J.

Case 2:18-cv-00924-PD Document151 Filed 09/15/23 Page 4 of 9

MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFE’S MOTION FOR RELIEF
FROM JUDGEMENT OR ORDER

Plaintiff, Olutokunbo Efunnuga, hereby moves for Relief from a Judgment or Order Pursuant to
Fed. R. Civ. P. 60, against Steven Farley, on claims of Illegal Search and Seizure with respect to
incident which occurred on May 5, 2016. The court retains jurisdiction to vacate a dismissal
under Rule 60(b), enabling it to reopen the case on grounds such as mistake and fraud. The
motion should be made under Rule 60(b), which allows relief from mistake, inadvertence,

surprise, or excusable neglect, or on a showing of other good cause.

PROCEDURAL HISTORY

Plaintiff, acting pro se, filed the instant Fourth Amended Complaint in July 2022. (Doc.
Nos. 1, 101.) The Complaint contains eleven Counts, which were all dismissed by the Court on
July 13, 2023. (Doc. No. 143.) The, Count 6 “Violation of Fourth Amendment’s guarantee of
freedom from unreasonable search and seizure”, claim was adjudicated by this Court as to March
1, 2016 “claims arising from the initial frisk”, and “with respect to the basement entries on
March 1, 2016 Jd. However, the claims arising from the incident on May 5, 2016 were not
mentioned. The Order is devoid of adjudication of the Fourth Amendment Violation for
Unreasonable Search and Seizure (Count 6), as they pertain to the unlawful entry and unlawful
frisk of Appellant on May 5, 2016. These claims are clearly asserted in J 47-51 of Fourth
Amended Complaint, and supported by the record with particular detail in {] 50-54 of Plaintiff's
Affidavit.

STATEMENT OF FACTS

On May 5, 2016, at approximately 2:34 P.M., Plaintiff was on the premises of 728 North
63™ St., lawfully conducting repairs to a hot water heater in the basement of the property when
he was surprised by Defendant Farley and Officer Chaulisant. The police officers conducted an
unannounced warrantless entry of the property to investigate a complaint of theft in progress.
While inside the basement Defendant Farley conducted a personal search or “‘frisk of Plaintiff

and search of the premises. Defendant Farley made disparaging comments of the Plaintiff and

Case 2:18-cv-00924-PD Document 151 Filed 09/15/23 Page 5 of 9

refused to inform Plaintiff of the cause of actions taken against him. Plaintiff remained unaware
of the complaint until discovery in this civil action.

It is undisputed that a priority one call went out on Police radio on May 5, 2016, at
approximately 2:34 P.M., complaining of (Theft in Progress) at 728 N. 63"¢ St. See Philadelphia
PD Incident History Details, 3/4/20, DO086, page 7, at Call #: 1612604752.

It is undisputed that on the same date, time and location as above, upon initial arrival of
the premises, Defendant Farley and Officer Chaulisant encountered the complainant, a tenant of
the 2"¢ floor apartment named Chris, who informed them that plaintiff was on location, in the
basement “putting building materials in the truck from the basement of the above address...” See
Philadelphia PD Incident History Details, 3/4/20, D0086, page 7, at Call #: 1612604752.

It is undisputed that prior to entering the basement and encountering plaintiff on May 5",
2016, Defendant Farley was under the knowledge, information and belief that Appellant was the
landlord of the property, with a reasonable expectation of privacy in the basement, and that he
allegedly referred to the as his office’

It is undisputed that after investigations were completed by Defendant Farley and officer
Chaulisant, it was their determination that no unlawful acts were committed by plaintiff on May
5%, 2016.

It is undisputed that Appellants’ person was searched by Appellee Farley and Officer
Chaulisant.

ARGUMENT

THE DISTRICT COURT ERRED AS A MATTER OF
FACT AND LAW BY GRANTING SUMMARY
JUDGMENT ON (Count 6) FOURTH AMENDMENT
VIOLATION FOR UNREASONABLE SEARCH AND
SEIZURE IN FAVOR OF DEFENDANTS’, WITH
RESPECT TO THE ENTRY OF BASEMENT ON
MAY 5, 2016.

Rule 60 permits correction of clerical and other errors made by district judges, including
errors of both fact and law, and the broad scope of Rule 60 empowers a district judge to do

justice in the particular circumstances of each case.

On May 5, 2016, Defendant Farley and Officer Chaulisant responded to a radio call of

the Plaintiff removing items from the basement and placing them into a black pick-up truck.

4

Case 2:18-cv-00924-PD Document 151 Filed 09/15/23 Page 6 of 9

According to call record #1612604752, Plaintiff was identified on the priority one call as a
“TALL BLK MALE (OLUKUREDE EFUNNUGA)”, PUTTING BLDG MATERIALS IN THE
TK FRM THE BSMT OF THE ABV ADDRESS”, Based on the dispatch information; prior
history between Defendant Farley and Plaintiff at that location; and ongoing criminal prosecution
of Plaintiff involving Defendant Farley; there was no justifiable reason that Defendant Farley
and his partner did not announce their entry, or receive consent before entering the unit. The
personal search or “frisk” of Plaintiff inside of the property was unlawful as Defendant Farley
was under the knowledge, information, and belief that Plaintiff was on location, in the basement,
which he allegedly referred to as his “office”. Nothing unlawful was observed by the police after
entry. "A warrantless home entry is presumptively unconstitutional, but 'exigent circumstances’
can excuse the warrant requirement." Kubicki v. Whitemarsh Twp., 270 Fed.Appx. 127, 128 (3d
Cir. 2008) (citing Welsh v. Wisconsin, 466 U.S. 740, 749-50, 104 S. Ct. 2091, 80 L. Ed. 2d 732,
(1984)). "Exigent circumstances include, but are not limited to, hot pursuit of a suspected felon,
the possibility that evidence may be removed or destroyed, and danger to the lives of officers or
others." United States v. Coles, 437 F.3d 361, 366 (3d Cir. 2006) (emphasis added).

No warrant issued, nor exigent circumstance existed to justify the officer’ s entry into the
basement. Once in the basement the officers were unlawfully conducting a search of the
premises by virtue of the entry and there were no clear and articulable facts to justify the further
intrusion of privacy by conducting a “‘frisk” of Plaintiff. "[W]hen it comes to the Fourth
Amendment, the home is first among equals." Florida v. Jardines, 569 U.S., 133 S. Ct. 1409,
1414, 185 L. Ed. 2d 495 (2013). At the "very core" of the Fourth Amendment "stands the right of
a man to retreat into his own home and there be free from unreasonable governmental intrusion."
Silverman v. United States, 365 U.S. 505, 511, 81 S. Ct. 679, 5 L. Ed. 2d 734 (1961). The fact
that there existed history and unresolved legal matters involving Defendant Farley and Plaintiff

at the same exact location made this intrusion further egregious.

District Court erred in granting summary judgment of the May 5, 2016 claims of
unreasonable search and seizure, in violation of Appellant’s Fourth Amendment rights. As it
appears in District Courts order; A. Fourth Amendment Violation for Unreasonable Search
and Seizure (Count 6). Summary judgment was granted on claims arising from the initial frisk

on March 1, 2016, and the basement entries on March 1, 2016 Only.

Case 2:18-cv-00924-PD Document 151 Filed 09/15/23 Page 7 of 9

CONCLUSION

WHEREFORE, your movant prays that in light of the above listed reasons, that this
Honorable Court finds it in the interest of justice to correct this error, reopen this case and permit

the Plaintiff to continue to prosecute the above-captioned civil action or to clarify.

Respectfully Submitted,

af, tL ‘ = £
Olutokuribo Efunnuga

Date: 4-11-32

Case 2:18-cv-00924-PD Document 151 Filed 09/15/23 Page 8 of 9

VERIFICATION

I Olutokunbo Efunnuga, declare that all facts stated in the foregoing Motion are true and
correct to the best of my knowledge, information and belief, and are subject to the penalties of

perjury as provided for in 28 U.S.C. § 1746, for unsworn falsifications.

RESPECTFULLY SUBMITTED,

OLUTOKUNBO EFUNNUGA

DATE: _9-\1-33

